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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                                *

RONALD L. BRADLEY, JR.,                         *

      Plaintiff                                 *

      v.                                        *          CIVIL NO. JKB-11-2708

9727 PULASKI, INC., dba CATCHES,                *

      Defendant                                 *
      *     *        *       *      *       *       *      *       *      *        *   *

                                           ORDER

      In accordance with the foregoing memorandum, it is hereby ORDERED:

   1. Plaintiff’s motion for default judgment (ECF No. 9) is GRANTED;

   2. Judgment for Plaintiff is ENTERED in the amount of $925.00, consisting of $100.00 in

      damages and $825.00 in attorney’s fees, and costs;

   3. Plaintiff is DIRECTED to submit a bill of costs to the Clerk.


DATED this 27th day of February, 2012.


                                                    BY THE COURT:



                                                                   /s/
                                                    James K. Bredar
                                                    United States District Judge
